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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA
UNITED STATES OF AMERICA,                    )                 CASE NO. 4:11CR3087
                                             )
                     Plaintiff,              )
                                             )                         ORDER
v.                                           )
                                             )
GUY ALLEN,                                   )
                                             )
                     Defendant.              )


       THIS MATTER comes before the Court on defendant's Motion to Withdraw as

Counsel and Appoint New Counsel, filing 31. The Court, being fully advised in the

premises, finds that said Motion should be granted.

       IT IS THEREFORE ORDERED that Assistant Federal Public Defender John C.

Vanderslice and the Federal Public Defender’s office shall be permitted to withdraw as

counsel of record for Mr. Allen. It is further ordered that the Federal Public Defender’s

office shall contact a CJA panel attorney to represent Mr. Allen in the above captioned

matter, pursuant to the Criminal Justice Act, 18 U.S.C. § 3006A, and shall forthwith provide

this Court with a draft appointment order (CJA Form 20) bearing the name and other

identifying information of the CJA Panel attorney identified in accordance with the CJA

Plan for this District. The Clerk is further ordered to remove Mr. Vanderslice’s name from

all future ECF notices.

       Dated this 11th day of January, 2012.

                                                  BY THE COURT:


                                                  s/ Cheryl R. Zwart
                                                  The Honorable Cheryl R. Zwart
                                                  United States Magistrate Judge
